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Counsel for Defendant
McKesson Corporation


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
__________________________________________
In re:                                           )   Chapter 11
                                                 )
                                                 )   Case No. 15-23007 (RDD)
THE GREAT ATLANTIC & PACIFIC TEA                 )
COMPANY, INC., et al.                            )   Jointly Administered
                                                 )
                           Debtors.              )
                                                 )
The Official Committee of Unsecured Creditors on )
behalf of the bankruptcy estate of THE GREAT     )
ATLANTIC & PACIFIC TEA COMPANY, INC., )
et al.                                           )
                              Plaintiff          )   Adv. Proc. No. 17-08264 (RDD)
                                                 )
                      v.                         )
                                                 )
McKESSON CORPORATION                             )
                                                 )
                              Defendant          )
                                                 )


                  UNILATERAL STATUS CONFERENCE REPORT




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          Defendants McKesson Corporation, McKesson Pharmacy Systems LLC, and McKesson

Specialty Distribution LLC (collectively, “McKesson”) file this Unilateral Status Conference

Report.

          1.    On July 13, 2017, the Official Committee of Unsecured Creditors (the

“Committee”), through its counsel, Pachulski Stang Ziehl & Jones LLP (“Pachulski”), filed three

lawsuits against McKesson: (i) Official Committee of Unsecured Creditors v. McKesson Corp.,

Adv. Pro. No. 17-08264-rdd; (ii) Official Committee of Unsecured Creditors v. McKesson

Pharmacy Systems LLC, Adv. Pro. No. 17-08265-rdd; and (iii) Official Committee of Unsecured

Creditors v. McKesson Specialty Distribution LLC, Adv. Pro. No. 17-08266-rdd (collectively,

the “McKesson Lawsuits”).

          2.    On August 10, 2017, McKesson filed Answers to the Complaints in each of the

McKesson Lawsuits.

          3.    On September 18, 2017, McKesson advised Pachulski in writing that it had a

conflict of interest in prosecuting the McKesson Lawsuits, due to Pachulski’s representation of

McKesson in an unrelated matter. That same day Pachulski advised McKesson that “the

Committee will find substitute counsel to handle the McKesson [Lawsuits] ASAP.” The

following day, September 19, 2017, McKesson was advised that another law firm — Kelly Drye

& Warren LLP — would handle the McKesson Lawsuits.

          4.    On October 5, 2017, this Court held its initial status conferences in the McKesson

Lawsuits. At those conferences, an attorney from Pachulski advised that Kelly Drye’s retention

would be finalized in a couple of days. The Court then continued the status conferences until

November 14, 2017.




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       5.      On October 19, 2017, Kelly Drye advised counsel to McKesson that it would not

be handling the McKesson Lawsuits. That same day, McKesson inquired of Pachulski as to the

status of substitute counsel. McKesson did not receive a response to that inquiry.

       6.      On Monday, November 6, 2017, McKesson (through its counsel) wrote to

Pachulski as follows: “It now has been 3 weeks since we last communicated about replacement

counsel. Either the Committee obtains replacement counsel by the end of this week--November

10, 2017--or McKesson will move to dismiss the lawsuits for failure to prosecute.”

       7.      As the filing of this Unilateral Status Conference Report, no replacement counsel

has appeared in the McKesson Lawsuits. McKesson intends to file motions to dismiss for

failure to prosecute, and will ask the Court at the November 14, 2017 status conference to set an

appropriate schedule for same.

Dated: November 10, 2017

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